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                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division




UNITED STATES OF AMERICA



V.                                                                  Action No. 2:18mj 166


WALLACE GODWIN,

                       Defendant.




                                             ORDER


       The defendant, Wallace Godwin, having filed a motion for determination of mental

competency to stand trial (ECF No. 16) pursuant to Title 18, United States Code, Sections 4241(a)

and (b), and the Court having been advised that the United States has no objection thereto;

       The Court hereby FINDS there is reasonable cause to believe the defendant may presently

be suffering from a mental disease or defect rendering him mentally incompetent to the extent he

is unable to understand the nature and consequences of the proceedings against him or to assist

properly in his defense, therefore it is hereby:

       ORDERED that the defendant's attorney shall arrange, at the defendant's expense, for the

defendant to be evaluated by Dr. Alana Rollings, within 30 days of the entry of this Order, to

determine whether the defendant may presently be suffering from a mental disease or defect

rendering him mentally incompetent such that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his defense.
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       It is FURTHER ORDERED that, pursuant to Title 18, United States Code, Sections

4247(b) and (c), the defendant shall submit to such examination and that the examiner's report

shall be filed, under seal, with the United States District Court for the Eastern District of Virginia,

Norfolk Division, 600 Granby Street, Norfolk, Virginia 23510, and sealed copies shall be

provided to Alan M. Salsbury, Managing Assistant United States Attorney, Office of the United

States Attorney, 101 West Main Street, Suite 8000, Norfolk, Virginia 23510, and to the

defendant's attorney, Kirsten R, Kmet, AssistantFederal Public Defender, Officeof the Federal

Public Defender, 150 Boush Street, Suite 403, Norfolk, Virginia 23510.

       Pursuant to Title 18, United States Code, Section 4247(c), said report shall include: (1) the

defendant's history and present symptoms; (2) a description of the psychiatric, psychological, and

medical tests that were employed and their results; (3) the examiner's findings; and (4) the

examiner's opinions as to diagnosis and prognosis, including whether the defendant is suffering

from a mental disease or defect rendering him mentally incompetentto the extent that he is unable

to understand the nature and consequences of the proceedings against him or to assist properly in

his defense.


       It is FURTHER ORDERED, piu"suant to the Speedy Trial Act, Title 18, United States

Code, Section 3161(h)(1)(A) and (D), thatthe time by which an indictment mustbe filed andby which

any trial ofsuch offensemust commenceis tolled fi*om the date of this Order until the results of the

examination are received by the Court and any proceedings attendant thereto are resolved.
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such period being a excludable delay contemplated by Title 18, United States Code, Section

3161(h)(1)(A).


                                                                      f
                                                       Robert J. Krask
                                                       United Slcites Magistrate Judge
                                                          Robert J. Krask
                                                   United States Magistrate Judge

Norfolk, Virginia
May 14, 2018
